       Case 2:22-bk-14502-DS Doc 83 Filed 05/31/23 Entered 05/31/23 14:08:00                                          Desc
                           Notice of Dismissal (Generic) Page 1 of 1

                                        United States Bankruptcy Court
                                          Central District of California
                                       255 East Temple Street, Los Angeles, CA 90012

                                               NOTICE OF DISMISSAL
    DEBTOR INFORMATION:                                                           BANKRUPTCY NO. 2:22−bk−14502−DS
    SP Star Enterprise, Inc.
    dba Platinum Showgirls LA                                                CHAPTER 11
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): N/A
    Employer Tax−Identification (EIN) No(s).(if any): 86−1123790
    Debtor Dismissal Date: 5/31/23


    Address:
    710 E. Commercial St
    Los Angeles, CA 90012−3412


You are notified that an order was entered DISMISSING the above−captioned case and vacating the discharge if previously
entered.
The Court retains jurisdiction on all issues involving sanctions, any bar against being a debtor in bankruptcy, all issues arising
under Bankruptcy Code §§ 105, 109(g), 110, 329, 349, and 362, and to any additional extent provided by law.




                                                                                 For The Court,
Dated: May 31, 2023                                                              Kathleen J. Campbell
                                                                                 Clerk of Court




Form ntcdsm−ndms Rev. 06/2017                                                                                             83 / MB2
